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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                    May 23, 2022
                            UNITED STATES DISTRICT COURT
                                                                                 Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           § CRIMINAL ACTION NO. 4:21-CR-9
                                              §
ROBERT T. BROCKMAN                            §

                       MEMORANDUM OPINION AND ORDER

         “The assessment of intellectual disability is a complicated task––one for which the

typical judge, no more than an educated layperson in these matters, is perhaps not best

equipped. But it is one that the law assigns us.” United States v. Pervis, 937 F.3d 546, 558

(5th Cir. 2019). It is difficult to imagine a more complicated assessment than that of the

current intellectual capabilities of the defendant in this case, Robert T. Brockman

(“Brockman”). Brockman, as an extremely talented and innovative businessman, built a

billion-dollar computer systems and software company and ran it for decades. Today,

Brockman is 80 years old. Based on recent neuroimaging, Brockman has Parkinson’s

Disease, may have Alzheimer’s Disease, and it cannot be reasonably disputed that he is

suffering from some degree of age-related cognitive decline. However, the question is

whether his intellectual capacities have declined to the point where he is no longer

competent to stand trial.

         On the one hand, Brockman’s attorneys assert that his extremely poor cognitive

testing results establish that Brockman has lost the ability to remember and process even

the most rudimentary details and ideas necessary for his legal representation. They argue

that Brockman suffers from dementia and that his cognitive test results are consistent with


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his interactions with those now closest to him—his caretakers and attorneys—and his

visibly frail and sometimes confused appearance in court. On the other hand, the United

States Government (“Government”) asserts that there is much more than meets the eye

with respect to Brockman’s test results and outward appearance. The Government asserts

that validity tests, designed to detect intentional exaggeration of an intellectual disability

or malingering,1 indicate that Brockman’s poor cognitive test results stem from a deliberate

attempt to perform poorly to avoid prosecution rather than from a genuine intellectual

disability. Brockman’s attorneys counter by arguing that the validity test results are flawed

and unreliable because of, among other things, Brockman’s advanced state of cognitive

decline.

         The Court has endeavored to “address[] its assigned task with care and

commitment.” Id. The Court held an eight-day evidentiary hearing and has carefully

considered hundreds of pages of thorough briefing and thousands of pages of documents.

The conclusions to be drawn from the validity test results and Brockman’s past conduct

consistent with these results cannot be ignored. Viewing the record in gestalt, the Court

finds the Government’s arguments and expert testimony regarding Brockman’s

competency to stand trial to be persuasive and supported by compelling evidence of

Brockman’s past malingering and sophisticated furtive behavior. For the reasons given




1
  The American Psychiatric Association (2000) (“APA (2000)”) defines “malingering” as the
“intentional production of false or grossly exaggerated physical or psychological symptoms,
motivated by external incentives . . . .” American Psychiatric Association. (2000). Diagnostic and
statistical manual of mental disorders (4th ed., text rev.), p. 739.


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below, the Court finds that the Government has met its burden to show that Brockman is

competent to stand trial.

         I.    FACTUAL AND PROCEDURAL BACKGROUND

         A.    Brockman’s Cognitive Abilities

         In May of 2017 Brockman first raised concerns about his cognitive abilities in an

email to his friend, Dr. Stuart Yudofsky (“Dr. Yudofsky”) a neuropsychiatrist at the Baylor

College of Medicine (“Baylor”). See Northern District of California case number 3:20-CR-

371 at docket entry 64, page 8. Brockman and Dr. Yudofsky had formed close personal

and business ties over the years and Dr. Yudofsky was named by Baylor as the Chairman

of the Scientific Advisory Board of the Brockman Medical Research Foundation. See

Northern District of California case number 3:20-CR-371 at docket entry 69, pages 7–8.

Over the next sixteen months neither Brockman nor Dr. Yudofsky took any action to

address these concerns. See Northern District of California case number 3:20-CR-371 at

docket entry 69, page 8.

         On September 5, 2018, IRS agents and Bermudan police executed a search warrant

for a raid in Bermuda on the home office of Evatt Tamine (“Tamine”), a lawyer who

worked closely with Brockman for 14 years and who, according to the Government, helped

Brockman illegally conceal assets offshore. See Northern District of California case

number 3:20-CR-371 at docket entry 69, pages 5–8. This warrant provided significant

evidence that Brockman had been engaged in a decades long scheme of tax evasion. On

September 11, 2018, one day after returning from an Alaska fishing trip with Dr. Yudofsky,

Brockman had an appointment with his urologist Dr. Seth Lerner (“Lerner”). At that


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appointment Brockman told Dr. Lerner that he was concerned about his cognitive abilities

and Dr. Lerner documented that Brockman was exhibiting symptoms of cognitive decline.

See Northern District of California case number 3:20-CR-371 at docket entry 69, pages 5–

8 and at docket entry 64, page 8.

         Dr. Lerner referred Brockman to Dr. James Pool (“Dr. Pool”), who diagnosed

Brockman with dementia in December 2018. See Northern District of California case

number 3:20-CR-371 at docket entry 64, page 8. Dr. Pool then referred Brockman to two

neurologists and a neuropsychologist, who evaluated Brockman in early 2019 and

concluded that his cognitive impairment was consistent with either Parkinson’s Disease or

Lewy body dementia. See Northern District of California case number 3:20-CR-371 at

docket entry 64, pages 8–9.

         Even though Brockman was clinically diagnosed with dementia in late 2018 and

early 2019 and was deemed incompetent by a neuropsychologist in 2019 and 2020, his

behavior outside of clinical settings during that time period showed few, if any, signs of

impairment. Brockman continued to run Reynolds as its CEO until late 2020. See Northern

District of California case number 3:20-CR-371 at docket entry 69, pages 4, 9–11. Before

he stepped down, Brockman regularly sent emails and memos evidencing that he had a

firm grasp of the intricacies of his company and the industry in which it operated. See

Northern District of California case number 3:20-CR-371 at docket entry 69, pages 9–11.

In 2019, Brockman gave depositions in two separate complex antitrust cases and provided

cogent testimony; neither Brockman, Brockman’s civil attorneys, nor the attorneys




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questioning Brockman had any concerns about Brockman’s cognitive ability. See Northern

District of California case number 3:20-CR-371 at docket entry 69, pages 9–10.

         In July 2019 Brockman told his counsel in this criminal prosecution about his

cognitive problems. See Northern District of California case number 3:20-CR-371 at

docket entry 64, page 9. Brockman’s counsel followed up with the neurologists and

neuropsychologist, and the neuropsychologist performed forensic evaluations in December

of 2019 and October of 2020 after which the neuropsychologist issued reports opining that

Brockman was not competent to stand trial. See Northern District of California case

number 3:20-CR-371 at docket entry 64, page 9.

          On October 1, 2020, Brockman was charged in a 39-count indictment in the

Northern District of California with a variety of financial crimes, including tax evasion;

wire fraud affecting a financial institution; money laundering; failure to file Foreign Bank

Account Reports; evidence tampering; and destruction of evidence. (Dkt. 2). The

indictment was unsealed on October 15, 2020. See Northern District of California case

number 3:20-CR-371 at docket entry 16, page 3. On November 5, 2020, Brockman stepped

down as CEO of his company, Reynolds & Reynolds (“Reynolds”). (Dkt. 253 at p. 51).

         On December 8, 2020, Brockman’s counsel filed a motion requesting a competency

hearing on the basis that Brockman “has dementia.” See Northern District of California

case number 3:20-CR-371 at docket entry 64, page 6. The Government conceded that

Brockman had met the threshold for establishing the necessity of a competency hearing but

requested that Government experts be given the opportunity to evaluate Brockman before

the hearing. See Northern District of California case number 3:20-CR-371 at docket entry


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69, pages 2, 12. Both sides retained medical experts in various disciplines to assist the

Court in determining Brockman’s competency to stand trial. Brockman underwent

extensive testing designed to both ascertain his cognitive ability and determine whether he

was malingering or exaggerating symptoms of dementia to avoid prosecution.

         B.    Cognitive Testing and Neuroimaging

               —The Government’s experts

         To evaluate Brockman, the Government retained Dr. Robert Denney (“Dr.

Denney”), a forensic neuropsychologist; Dr. Ryan Darby (“Dr. Darby”), a neurologist; and

Dr. Park Dietz (“Dr. Dietz”), a psychiatrist. Dr. Denney administered several tests to

Brockman in May and October of 2021. Two of those tests, the Competency Assessment

Inventory-Revised and the Evaluation of Competency to Stand Trial-Revised, were

designed to assess Brockman’s ability to understand the legal proceedings and assist his

counsel. (Dkt. 236-1 at p. 3; Dkt. 249-1 at pp. 7–11). Additionally, Dr. Denney

administered various cognition tests to Brockman while also administering validity tests

designed to help detect malingering. (Dkt. 236-1 at pp. 3, 25–29, 42, 50–53). Dr. Dietz and

Dr. Denney collaborated on forensic interviews of Brockman in May and October of 2021.

(Dkt. 236-1 at pp. 2, 42). Dr. Darby performed a medical examination of Brockman in May

of 2021. (Dkt. 236-6 at p. 2). Both Denney and Dietz have considerable, specific training

and experience conducting forensic evaluations of criminal defendants where there is a

concern regarding malingering or feigning dementia for potential secondary gain of the

magnitude involved in this case—avoiding criminal prosecution and a potentially long

prison term.


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         A fourth Government expert, Dr. Maria Ponisio, a neuroradiologist, reviewed

Brockman’s medical imaging and provided reports but did not examine or interview

Brockman. (Dkt. 236-1 at pp. 95–112).

         —Brockman’s experts

         Similarly, Brockman retained three experts who performed evaluations: Dr. Thomas

Wisniewski (“Dr. Wisniewski”), a neurologist and neuropathologist; Dr. Marc Agronin

(“Dr. Agronin”), a geriatric psychiatrist; and Dr. Thomas Guilmette (“Dr. Guilmette”), a

forensic neuropsychologist. Dr. Agronin interviewed Brockman and administered

cognition tests to him in July of 2021. (Dkt. 234-13 at pp. 20, 25–26). Dr. Guilmette

performed forensic neuropsychological evaluations on Brockman in July and October of

2021 that included both cognition and validity tests. (Dkt. 234-18 at pp. 29–30; Dkt. 234-

19 at pp. 9–11). Dr. Wisniewski performed a neurological examination of Brockman in

October of 2021 that included cognition tests. (Dkt. 234-22 at pp. 5–9). Compared to Drs.

Denney and Dietz, Drs. Guilmette, Agronin and Wisniewski have far less experience

conducting forensic examinations where there is a concern regarding a criminal

defendant’s malingering or feigning dementia for potential secondary gain of the

magnitude involved in this case.

         A fourth expert, Dr. Christopher Whitlow, a neuroradiologist, reviewed Brockman’s

medical imaging and provided reports but did not examine or interview Brockman. (Dkt.

234-24; Dkt. 234-25).




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—Imaging

         In 2021, Brockman underwent two FDG-PET scans, two sleep studies, two MRI

scans, an amyloid PET scan, an EEG scan, and a CT scan. (Dkt. 194 at p. 3). An FDG-PET

scan (short for “fluorodeoxyglucose-positron emission tomography scan”) evaluates brain

function by measuring the metabolism of glucose in different areas of the brain. An MRI

scan (short for “magnetic resonance imaging scan”) can help to detect neurodegenerative

diseases by measuring brain volume. An amyloid PET scan (short for “amyloid positron

emission tomography scan”) detects clusters of amyloid plaques in the brain; amyloid is

one of the proteins associated with Alzheimer’s Disease. An EEG (short for

“electroencephalogram”) detects abnormalities in the brain’s electrical activity. A CT scan

(short for “computed tomography scan”) depicts the anatomical structure of the brain.

         C. Brockman’s Hospitalizations

         In 2021, Brockman was hospitalized three times with urinary tract infections, once

in March, once in late May and early June, and once in September. (Dkt. 250 at p. 47).

Brockman suffered from delirium during all three hospitalizations and suffered from sepsis

during the first two. (Dkt. 250 at p. 47). On June 24, 2021, Brockman underwent a UroLift

procedure designed to stop the recurring urinary tract infections. (Dkt. 235-18 at pp. 23–

25). In January 2022 Brockman was hospitalized with acute prostatis and toxic metabolic

encephalopathy after contracting COVID-19. (Dkt. 259).

         D.    The Evidentiary Hearing

         The Court held an eight-day evidentiary hearing in November of 2021. During the

hearing Dr. Yudofsky was subpoenaed by the Government to testify about his personal


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knowledge regarding Brockman’s competency to stand trial. Dr. Yudofsky moved to quash

the subpoena, declining to testify and citing his right against self-incrimination under the

United States Constitution. The Court held a sealed hearing on Dr. Yudofsky’s assertion

of this right and granted his motion to quash the Government’s subpoena. Below are the

Court’s analysis of the evidence and factual findings.

         II.   THE LEGAL STANDARD

         “When a court has reason to believe that a defendant may be incompetent, it must

conduct a competency hearing[,]” as “[t]he conviction of a mentally incompetent defendant

violates the Due Process Clause.” DeVille v. Whitley, 21 F.3d 654, 656 (5th Cir. 1994). The

question of competency is a mixed question of law and fact on which the Court sits as

factfinder. United States v. Makris, 535 F.2d 899, 907–08 (5th Cir. 1976). The Government

bears the burden of proving a defendant’s competency by a preponderance of the evidence.

United States v. Hutson, 821 F.2d 1015, 1018 (5th Cir. 1987). “A district court can consider

several factors in evaluating competency, including, but not limited to, its own observations

of the defendant’s demeanor and behavior; medical testimony; and the observations of

other individuals that have interacted with the defendant.” United States v. Simpson, 645

F.3d 300, 306 (5th Cir. 2011).

         “A defendant is deemed mentally competent when he has the present ability to

consult with his lawyer with a reasonable degree of rational understanding and has a

rational as well as factual understanding of the proceeding against him.” Dunn v. Johnson,

162 F.3d 302, 305 (5th Cir. 1998) (quotation marks and brackets omitted) (citing Dusky v.

United States, 362 U.S. 402 (1960) and Lokos v. Capps, 625 F.2d 1258, 1261 (5th Cir.


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1980)). Conversely, “a person whose mental condition is such that he lacks the capacity to

understand the nature and object of the proceedings against him, to consult with counsel,

and to assist in preparing his defense may not be subjected to a trial.” Drope v. Missouri,

420 U.S. 162, 171 (1975).

          III.   THE EVIDENCE

          A. Validity Test Results: Brockman is Malingering

          The Court finds that Brockman’s validity test results establish that he is

exaggerating his symptoms of severe dementia and his cognitive abilities are not as poor

as reflected by his cognitive test results. In other words, Brockman is malingering to avoid

prosecution. Cognitive testing is the primary way for neuropsychologists and other medical

experts in related fields to establish the severity of cognitive decline and impairment.

However poor performance on cognitive testing does not always mean that an individual

is truly impaired. While it is human nature to associate perceived physical frailty with a

decline in cognitive functioning, this also may not always be true. 2

          Validity tests are tests designed to help determine whether the cognitive test results

reflect genuine cognitive impairment or are the result of malingering for purposes of

secondary gain, such as avoiding criminal prosecution and incarceration. Validity tests may

be either embedded in the cognitive tests themselves or stand-alone tests administered

separately. These tests are typically simple tasks that are easier than they appear to be and



2
 One of the best examples of this misperception is the life of Dr. Stephen Hawking, theoretical
physicist and cosmologist. “Stephen Hawking.” Wikipedia, Wikimedia Foundation, 22 May 2022,
en.wikipedia.org/wiki/Stephen_Hawking.


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on which a good performance is expected based on the fact that even individuals with

established severe brain injury have been found capable of good performance. Based on

that expectation, each validity test has an acceptable number of errors designed to make

sure that the false positive rate is low, that is, the evidence of malingering is itself reliable.

          Here, the Court finds the testimony of Drs. Denney and Dietz and the results of the

cognitive and validity testing performed by these experts to be clear, credible and reliable

regarding Brockman’s current competency to stand trial. As part of two assessments, in

May and October of 2021, Dr. Denney administered several cognition and validity tests to

Brockman. (Dkt. 236-1 at pp. 25–29, 50–55). Dr. Denney ultimately concluded that

Brockman “was intentionally exaggerating his cognitive impairment on the testing.” (Dkt.

249-1 at pp. 47, 68). He found that Brockman’s performance on the validity tests in both

the May and the October assessment indicated that the “neurocognitive test results [we]re

not a valid indication of [Brockman’s] cognitive abilities.” (Dkt. 236-1 at pp. 26, 53).

          The test scores led Dr. Denney to this conclusion because Brockman failed at least

two validity tests during each assessment; Dr. Denney testified “that when you have two

or more validity test failures in a battery, even up to nine possible validity tests in that

battery, two or more failed is a positive indicat[or for] overall test battery invalidity,

meaning you cannot rely upon the clinical, cognitive testing as being a genuine reflection

of the person’s ability.” (Dkt. 249-1 at pp. 67–68). There does not seem to be any

disagreement about the two-failure standard among any of the experts who provided

testimony to the Court: a consensus statement on validity assessment published by the




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American Academy of Clinical Neuropsychology indicates that the two-failure standard is

consistent with the neuropsychological literature.3

          In May of 2021, Brockman failed three validity tests administered by Dr. Denney:

the Word Memory Test (“WMT”); the Non-Verbal Medical Symptom Validity Test (“NV-

MSVT”); and the Victoria Symptom Validity Test (“VSVT”). (Dkt. 236-1 at pp. 25–26).

          On the WMT and the NV-MSVT, Brockman satisfied the mathematical algorithms

for a “possible genuine memory impaired profile;” but Brockman’s test score patterns were

so atypical of the results seen in dementia patients, that Dr. Denney scored Brockman’s

performance on both tests as a failure. (Dkt. 236-1 at p. 25). Put another way, Brockman

scored so poorly on the WMT and the NV-MSVT that he could possibly be cognitively

impaired; but Dr. Denney concluded that the score patterns established by Brockman’s

performance on the discrete component parts of the tests demonstrated not true debilitating

cognitive impairment but Brockman’s “attempting to appear disingenuously more

impaired than actually the case, particularly on memory related measures.” (Dkt. 236-1 at

pp. 25–26). Dr. Denney reached this conclusion by comparing Brockman’s test scores to

those of groups of dementia patients (as well as other comparator groups), and he testified

that the comparison demonstrated that Brockman’s scoring profile was “an atypical profile

that makes [Dr. Denney] believe it’s not a valid reflection of [Brockman’s] genuine




          3
          Dr. Guilmette, who testified on Brockman’s behalf, agreed at the competency hearing
that the two-failure standard is “generally the consensus” in the field. (Dkt. 236-16 at p. 40; Dkt.
256 at p. 168).


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abilities” because Brockman’s score patterns were not “consistent with what you see with

genuine demented patients.” (Dkt. 249-1 at pp. 27–28, 35).

          To clarify his analysis, Dr. Denney graphed his scoring comparisons for the WMT

and NV-MSVT. For instance, here is one graph showing a comparison of Brockman’s

WMT scores with those of groups of patients with varying degrees of dementia. (Dkt. 236-

13 at p. 28). The numbers along the y axis represent the percentage of questions answered

correctly by the test subject; the letters along the x axis represent the individual subtests

that make up the WMT, such as immediate recognition (“IR”) and delayed recognition

(“DR”); the solid line represents Brockman’s performance; and the dotted lines represent

the performance of the comparator groups, with the least impaired (who answered the most

questions right on the various subtests) on the top and the most impaired on the bottom.

(Dkt. 249-1 at pp. 23–25).




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                                     Green's WMT (AI)




          Using this graph, Dr. Denney highlighted several points. Globally, Dr. Denney

initially noted that Brockman’s scores were lower than those of even “the most severely

impaired dementia and amnestic patients on all aspects of the measure except

consistency[;]” consistency is “CNS” on the graph. (Dkt. 236-1 at p. 25). Such low scores


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were inconsistent with Brockman’s “demonstrated cognitive performance” during the

forensic interviews that Dr. Denney and Dr. Dietz conducted. (Dkt. 236-1 at p. 25). On a

more granular level, Dr. Denney observed that Brockman’s multiple-choice (“MC”) and

paired-associate (“PA”) scores were identical, which was “a red flag” because, as the

comparator groups’ graph lines show, “the more impaired a person gets the worse they do

on paired associate, compared to multiple choice.” (Dkt. 249-1 at pp. 27–28). Dr. Denney

further observed that the disparity between Brockman’s scores on the “easy” parts of the

test (IR, DR, CNS) and his scores on the “hard” parts of the test (MC, PA, FR4) was “much

more extreme” than the like disparity in the scores of even the most impaired dementia

patients. (Dkt. 249-1 at p. 28).

          Dr. Denney also concluded that Brockman failed the VSVT. (Dkt. 236-1 at pp. 25–

26). In the VSVT, the subject is shown a number on a screen; when that number disappears,

two more numbers appear, one of which is the same as the first number shown, and the

subject has to select the number that is the same as the first number shown. (Dkt. 249-1 at

p. 36). Brockman’s score was 8 out of 24; in his report, Dr. Denney wrote that “[r]esearch

demonstrates that even when dementia is the issue of concern, scores below 11 are low

enough to indicate poor task engagement.” (Dkt. 236-1 at p. 25). Dr. Denney further

clarified that Brockman’s score “resulted in a binomial p value of 0.0758.” (Dkt. 236-1 at




4
 “FR” stands for “free recall.” (Dkt. 249-1 at p. 26). As Dr. Denney described it, “I simply ask the
examinee to tell me all of the word pairs originally presented on the computer. He can give them
to me in pairs, one at a time, or in any order and just do your best. Then I keep track of how many
he gives me.” (Dkt. 249-1 at p. 26). Brockman got zero answers correct on the FR subtest. (Dkt.
249-1 at p. 26).


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pp. 25–26). In his testimony, Dr. Denney cited research indicating that “in a forensic setting

where there’s potential for secondary gain”—here, the potential secondary gain for

Brockman would be avoiding criminal charges—a binomial p value of less than 0.2 is “so

low as to tell you the person intentionally chose the wrong answer.” (Dkt. 236-1 at pp. 25–

26; Dkt. 236-13 at p. 53; Dkt. 249-1 at pp. 40–41).

          In October of 2021, Brockman failed three validity tests administered by Dr.

Denney: the NV-MSVT; the Medical Symptom Validity Test (“MSVT”); and the Rey-15

Item Test (“Rey Test”).

          On the NV-MSVT and the MSVT, Brockman satisfied the mathematical algorithms

for a possible genuine memory impaired profile, but Brockman’s test score patterns were

so atypical compared to severe dementia patients that Dr. Denney scored Brockman’s

performance on both tests as a failure. (Dkt. 236-1 at pp. 50–53; Dkt. 249-1 at pp. 50, 54).

As he did with the May 2021 WMT and NV-MSVT tests, Dr. Denney graphed both

Brockman’s test scores and those of the comparator groups. (Dkt. 236-1 at pp. 51–52).

          Dr. Denney also concluded that Brockman failed the Rey Test. (Dkt. 236-1 at p. 53).

In the Rey Test, which was perhaps the simplest validity test that the neuropsychologists

explained to the Court, Dr. Denney began by showing Brockman a piece of paper

containing 15 items for 30 seconds and then asking him to draw as many of the 15 items

as he could. (Dkt. 249-1 at p. 55). To illustrate, here is the 15-item pattern (Dkt. 236-13 at

p. 61):




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          Brockman correctly recalled one item, a circle, and made two other marks that were

referred to as “intrusions” because they were not part of the pattern. (Dkt. 249-1 at p. 56).

Dr. Denney testified that “[m]ost people, even with cognitive impairment can remember

nine” of the items. (Dkt. 249-1 at p. 56).

          After Brockman drew what he could recall of the 15-item pattern, Dr. Denney

showed Brockman another piece of paper with 30 items on it and asked Brockman to circle

the items that he remembered from the first page. (Dkt. 249-1 at p. 57). Brockman

recognized seven items and circled four false positives (meaning items that were not part

of the original pattern). (Dkt. 236-1 at p. 53). Dr. Denney subtracted the false positives


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(four) from the correct answers (seven) on the second page, then subtracted the intrusions

from the first page (two) from that total, giving Brockman a score of one. (Dkt. 236-1 at p.

53; Dkt. 249-1 at p. 58). Dr. Denney opined, based on recent literature, that a score of one

constitutes “a positive finding for exaggeration even among dementia patients.” (Dkt. 236-

1 at p. 53).

          In response to these test results and testimony, Dr. Guilmette testified that based on

his cognitive and validity test results, Brockman’s “neuropsychological test scores were

valid and did not reflect evidence of malingering.” (Dkt. 234-18 at p. 44; Dkt. 234-19 at

pp. 18–19). He testified that the Court could not rely on the validity testing results from

Drs. Denny and Dietz because Brockman’s cognitive abilities have deteriorated to a point

where “traditional [validity test] cutoff scores” generate false positives and cannot be used

to establish malingering. (Dkt. 234-19 at p. 40). He also generally testified that the Court

should not rely on the validity testing results because they are contradicted by the fact that

none of Brockman’s treating physicians ever found him to be malingering. As Dr.

Guilmette asserts:

                 Of multiple neuropsychological, neurologic, psychiatric, and primary care
                 evaluations by Drs. York, Pool, Yudofsky, Jankovic, Lai, and Yu beginning
                 in October 2018, none reported a suspicion that Mr. Brockman’s cognitive
                 complaints or symptoms were disingenuous. The first impression of
                 malingering cognitive disorder was proposed by Drs. Denney and Dietz, in
                 May 2021.
                 Dkt. 234-19 at p. 40.




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          The Court finds Dr. Guilmette’s testimony to be unreliable and unpersuasive for a

number of reasons. While Dr. Guilmette vociferously complains about the cognitive and

validity testing methods and scoring used by Drs. Denney and Dietz, it is undisputed that

1) Brockman failed at least two validity tests administered and scored by Dr. Guilmette

himself using criteria and scoring methods he deemed acceptable, (Dkt. 256 at pp. 206,

215, 219) 5 and 2) Dr. Guilmette agreed that the consensus in the field of neuropsychology

is that two failures in a battery of validity tests indicates intentionally poor effort. (Dkt. 256

at p. 168). As Dr. Guilmette concedes, Brockman received failing scores on at least six out

of a total of 23 validity tests administered by the neuropsychologists in this case. (Dkt. 234-

19 at p. 40; Dkt. 256 at pp. 246–47). Furthermore while Dr. Guilmette is experienced in

conducting examinations in clinical settings, in comparison to Drs. Denney and Dietz, Dr.

Guilmette has far less experience conducting forensic examinations. This is especially true

where, as here, there is a significant concern regarding a criminal defendant’s malingering

for potential secondary gain of the magnitude involved in this case.

          Next, the Court finds Dr. Guilmette’s reliance on evaluations by Brockman’s

treaters prior to his indictment to refute the validity test results questionable at best, and at

worst this reliance ignores evidence establishing that Brockman is malingering and

deliberately misled his treaters. The evidence establishes that while the treaters did not

note any evidence of malingering, they saw Brockman in a clinical setting, in other words



5
 The Court finds Dr Guilmette’s attempt to explain this fact by trying to draw a distinction between
“actually fail[ing]” a test and “receiv[ing] failing marks” on a test to be unpersuasive. (Dkt. 256 at
pp. 246-47.)


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for treatment. With the possible exception of Dr. Yudofsky, these treaters were not aware

that Brockman had any possible secondary motive for exaggerating his symptoms such as

avoiding prosecution and a possible prison sentence. Nor was there any reason for his

treaters to suspect such and evaluate him for malingering. According to the allegations by

the Government that were not refuted, Brockman had contributed over $25 million to

Baylor, the employer of all of Brockman’s treaters, and was in Baylor’s VIP patient

program. Furthermore Dr. Guilmette’s reliance ignores, as discussed in greater detail

below, the significant inconsistencies and striking disconnect between Brockman’s

significant decline in cognitive abilities as reported by his treaters in a clinical setting and

his superior cognitive abilities as observed in his day-to-day business and personal lives.

          Any reliance on Dr. Yudofsky’s notes or treatment of Brockman by Dr. Guilmette

to refute the validity test results is especially questionable. This reliance ignores evidence

that Dr. Yudofsky, as a neuropsychiatrist and close friend, assisted Brockman in

malingering and creating a paper trial to support this effort by noting a concern of declining

cognitive ability in 2017.6 This the Court cannot do.

          At the hearing Dr. Yudofsky was subpoenaed to specifically testify regarding his

personal knowledge about Brockman’s current cognitive ability, his notation of

Brockman’s concerns about suffering from dementia in 2017 and all conversations he had


          6
          In fact, the Court received evidence that Dr. Yudofsky had such a close personal
relationship to Brockman that, after Bermuda Commercial Bank froze Brockman’s accounts and
Tamine began to face increased scrutiny, Tamine and Brockman agreed that Tamine would no
longer carry computers or telephones when he traveled to the United States and would instead keep
such items at Dr. Yudofsky’s office. See Northern District of California case number 3:20-CR-371
at docket entry 69, pages 7–8.


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with Brockman regarding his dementia. Of particular interest to the Government were the

conversations Dr. Yudofsky had with Brockman between the time he learned about the

Government’s seizure of potential evidence against him and his doctor’s appointment

several days later where he complained about symptoms of dementia and was referred to

specialists for evaluation. Given the allegations of the close personal and financial ties

between the two, it was expected that Dr. Yudofsky would have relevant testimony on

these subjects. Surprisingly, on advice of counsel Dr. Yudofsky asserted his Fifth

Amendment right against self-incrimination and refused to testify.7 For all these reasons

the Court will not rely on Dr. Guilmette’s testimony in this matter.

          B. Evidence of Past Malingering

          Perhaps the most telling evidence of Brockman’s current exaggeration of his

cognitive disability is the inconsistency between Brockman’s performance during past

cognitive evaluations and Brockman’s contemporaneous, demonstrated superior business

acumen and cognitive abilities outside of clinical settings. This inconsistency, which grew

more striking over time, continued right up until it became clear that the Government had

gathered considerable evidence to support Brockman’s prosecution and he resigned from

his corporate responsibilities.




7
 Before the hearing the Government specifically stated that it would not question Dr. Yudofsky
regarding any of the underlying charges against Brockman and Dr. Yudofsky still insisted on
asserting his right against self-incrimination.


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—Evidence of past malingering: 2019

          In January of 2019, Brockman gave a deposition in an ongoing antitrust case in

which Reynolds is facing potential liability of over a billion dollars. (Dkt. 251 at p. 8).

Reynolds’s attorneys in the antitrust case asked to split the deposition into two half-days

on account of concerns about Brockman’s heart, but no one said that Brockman had any

potential cognitive problems or any other health issues. (Dkt. 251 at pp. 13–14). The

attorney who deposed Brockman, Michael Nemelka (“Nemelka”), testified at the

competency hearing that, out of the nearly 100 depositions that he has taken, Brockman

was in the “top five percent . . . in terms of preparation and skill as a witness.” (Dkt. 251

at pp. 9–10). Nemelka testified that Brockman gave tactically shrewd and “clever” answers

to questions and had “good recall” of past events, including pinpoint recall of an important

conversation that he had had with the CEO of another company seven years before the

deposition. (Dkt. 251 at pp. 22–30).

          As an example of Brockman’s strategic acuity, Nemelka discussed Brockman’s

insistence that one particularly large client’s difficulty switching from Reynolds’s

computer management system to a competitor’s was created by a logistical error in the

installation of the competitor’s product, not by the design of Reynolds’s product. (Dkt. 251

at pp. 16–22). During the deposition, Brockman gave a lengthy description of how the

client had tried to standardize dealership-specific shorthand job codes called “op codes”

while simultaneously installing the competitor’s product; and Brockman explained why, in

his opinion, the client’s attempt to handle the two distinct tasks at the same time doomed

the switch. (Dkt. 251 at pp. 16–22). Nemelka explained that the client that had tried to


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switch was “one of the largest automotive groups in the nation,” so “it was significant that

the largest dealership group tried to change dealer management systems and failed. It

shows how hard it is to switch.” (Dkt. 251 at pp. 16–22). Nemelka argued that the difficulty

that a large, sophisticated company had switching from Reynolds’s product illustrated that

Reynolds had intentionally created a “sticky product” that locked clients in. (Dkt. 251 at p.

16). Brockman refused to concede that point and, according to Nemelka, “had a clever

answer, to say it wasn’t because it was so hard to switch, but it was because they did these

op codes at the same time.” (Dkt. 251 at p. 22).

          Yet in March of 2019, six weeks after giving hours of astute testimony in a billion-

dollar antitrust case, Brockman, when asked during an assessment by a Baylor

neuropsychologist to read the word “two” aloud, responded that he did not think that “two”

was a word. (Dkt. 236-10 at p. 87). Intellectual functioning tests administered during that

assessment estimated Brockman’s IQ at “87, which is in the low average range.” (Dkt. 236-

10 at p. 87). The neuropsychologist, Dr. Michele York (“Dr. York”), evaluated Brockman

on a referral from Dr. Pool; she diagnosed Brockman with “dementia of mild to moderate

severity” and opined that Brockman’s “pattern of cognitive impairments [wa]s consistent

with Dementia with Lewy Bodies.” (Dkt. 236-10 at pp. 85, 88–89). In his testimony, Dr.

Denney noted that Dr. York’s March 2019 assessment was clinical in nature and therefore

less skeptical regarding performance on cognition tests than a forensic examination would

have been. (Dkt. 249-1 at pp. 70–71). Indeed, Dr. York’s March 2019 assessment report

did not discuss any validity tests and specifically stated that the assessment “was conducted

as a clinical evaluation and not as a forensic assessment[;]” and even Brockman’s current


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neuropsychological expert, Dr. Guilmette, agreed at the competency hearing that Dr.

York’s diagnosis of Dementia with Lewy Bodies was incorrect. (Dkt. 236-10 at pp. 85–90;

Dkt. 256 at pp. 240–41).

          The inconsistency between Brockman’s performance during cognitive evaluations

and his demonstrated cognitive ability outside of clinical settings became more remarkable

as 2019 went on. On his own initiative, Brockman told his criminal counsel about his

dementia diagnosis in July of 2019 and showed them a binder containing medical reports

related to the diagnosis. (Dkt. 249-7 at pp. 21–22, 24–25, 34; Dkt. 257 at pp. 229–30).

However, Brockman did not authorize his criminal counsel to disclose the diagnosis to the

attorneys who were handling civil matters in which Brockman and Reynolds were

involved. (Dkt. 249-7 at p. 34). One of Brockman’s criminal attorneys testified that

Brockman wanted the dementia diagnosis “closely held” and “did not authorize [his

criminal counsel] to disclose it elsewhere.” (Dkt. 249-7 at p. 34). Brockman’s insistence

on keeping the diagnosis secret from the civil attorneys was especially curious under the

circumstances, as Brockman sat for another high-stakes deposition in September of 2019—

six months after he was diagnosed with mild-to-moderate dementia, scored in the low-

average range on an IQ test, and said that “two” was not a word.

          The September 2019 deposition was part of an investigation by the Federal Trade

Commission (“FTC”) into possible collusion between Reynolds and a competitor. (Dkt.

249-3 at pp. 50–54). The FTC attorney who examined Brockman, Dana Abrahamsen

(“Abrahamsen”), testified that no one told him before or during Brockman’s deposition

that Brockman had dementia, Parkinson’s Disease, Lewy body dementia, or even mild


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cognitive impairment. (Dkt. 249-3 at p. 58). Abrahamsen testified that Brockman was

deposed for two four-hour days without notes and showed “tremendous command” of the

intricate technical issues presented by the FTC investigation as well as “great command of

the history of, you know, his company and the other people in the industry.” (Dkt. 249-3

at pp. 73, 91). On the stand, Abrahamsen discussed several examples of Brockman’s firm

grasp of complex material, including a particularly illustrative one in which Brockman

cogently explained a sophisticated Reynolds program that Abrahamsen had never heard of.

While asking Brockman about an email sent to Brockman three years before the deposition,

Abrahamsen spelled out a word with which he was unfamiliar, leading to this exchange:

              [Abrahamsen:]         In the body of his e-mail to you at the top of the first
                                    page of [exhibit] 4459, the first word in the sentence is
                                    S-Y-S-C-H-E-C-K. What is that?

              [Brockman:]           Syscheck. I hope you’ll bear with me because some of
                                    the explanation of necessity has got to be a little
                                    technical. The operating system that the DMS is built
                                    around is what’s called a multi-user operating system.
                                    And what that means is that if you have a system that
                                    has 100 PCs attached to it, each one of those is a
                                    separate user as far as the operating system is
                                    concerned. And the operating system, to the extent that
                                    it is set up that way, can handle 100 different users
                                    pretty much simultaneously. Well, they are not exactly
                                    simultaneously. They are kind of close. Every minute of
                                    computer power that’s available, it’s used by many
                                    different users of the 100 that are out there.

                                    Now, that’s really pretty cool except for the fact that
                                    people like in the accounting department that have big
                                    end-of-month reports they have to create, batch8 reports


8
  Notably, Brockman had already given a clear description of what the term “batch” means earlier
in the deposition:


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                              are very different in their usage characteristics. If you
                              have a terminal-based application, somebody that uses
                              a terminal and then they won’t, and that frees up
                              computer power for all of the rest of the folks. Even if
                              you have five or six people, they are not—each one of
                              them isn’t getting that big a bite of computer power.

                              But in the accounting world, we have big batch
                              programs that run at the end of the month. Think of it
                              like a machine gun. They just load in this infinite supply
                              of ammunition and they take the trigger down and it just
                              goes with no break. And what that does is you can
                              actually—not theoretically, but it actually happens in
                              practice where the accounting department with six or
                              seven users can suck up all the computer power, which
                              means people that run terminal applications like parts
                              invoices or service repair orders or service invoices,
                              they have to wait.

                              And this is a logic issue that is a little hard to get around,
                              but we devised Syscheck. And what happens is
                              Syscheck is a dipstick into the computer usage, and it
                              knows—you can dipstick and say, okay, it’s 85 percent
                              consumed or 90 percent or 50 percent, but when it gets
                              up fairly high, and I would say probably 85 or 90, it’s
                              smart enough that it suspends the batch programs and
                              lets the other 90 users in the pile, it will get their answers
                              quickly. Because the transaction base, what you hate is
                              when you enter a bunch of data entry, hit the button and
                              then you got to wait.

            [Abrahamsen:]     In the first part of the document, Section 1: List of Third
                              Party Access Utilized, and then there’s several entries.
                              Extract Inventory Vehicles-Batch, what is this part of the
                              contract referring to?

            [Brockman:]       This would be they keep vehicle inventories in a separate
                              area inside their database, and the access would be to—on a
                              batch basis. And by batch, that’s when you have a program
                              that runs that copies records from one file into another file,
                              and it does it without benefit of any screen interaction.
                              That’s why it’s called batch.
                              Dkt. 236-2 at p. 149.


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                                    And of course, what that then leads to is users accuse
                                    the DMS provider of a defective system, you are forcing
                                    us to buy a bigger computer. And our only defense now,
                                    which is a pretty good defense, we turn on Syscheck and
                                    people that are wanting to do something, if the computer
                                    system is overloaded, they get a message on their screen
                                    that says, I’m sorry, the accounting department is doing
                                    you in. Anyway, that’s what Syscheck is all about.
                                    Dkt. 236-2 at pp. 188–90.



          The record also contains several emails that Brockman wrote months after his 2019

dementia diagnosis in which Brockman demonstrated a strong understanding of complex

subjects and sometimes did so under circumstances that apparently required him to answer

questions without having pertinent documents at his disposal. While Brockman was dove

hunting in Argentina in October of 2019, his accountant asked him in an email about his

investment in a company called Medical Adhesive Revolution, or MAR. Brockman’s son,

who was “d[igging] up . . . documents” for the accountant, was also part of the email chain.

(Dkt. 236-13 at p. 17). Brockman wrote the following email to the accountant and copied

his son:

                MAR was a first place prize winner in the Jones School Business Plan
                Competition. The prize is put up every year by the GOOSE group. Goose is
                the Grand Old Order of Successful Entrapreneurs. (sp)9

                The prize was $100K put up at $10K each—I believe that there were 10
                members.




9
 This parenthetical comment was in Brockman’s email; apparently, Brockman realized that he
might be misspelling “entrepreneurs.”


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               The prospective investment was so appealing, that the GOOSE Group at the
               time it was tripled to $300K with each member putting up $30K instead of
               $10K.

               Therefore I believe that my initial basis was $30K.

               There were then additional capital calls that increased the basis in MAR.

               My son Robert is working on digging out the details on these additional
               contributions to the basis of the investment—as well as the returns to date. I
               am dove shooting in Argentina—be back this coming Thursday evening.

               Love,

               Dad

               PS: Robert—this issue needs immediate attention as we are running out of
               time.
               Dkt. 236-13 at p. 16.




          In October of 2019, Brockman also sent the following email to Craig Moss

(“Moss”), the CFO of Reynolds at the time, regarding the creation of board minutes to

avoid an accumulated earnings tax on retained profits:

               Craig,

               We need to have minutes of the board of Directors of the companies that
               have lots of cash on hand—as follows.

               It is our standard policy to accumulate earnings internally so as to have funds
               available for purchase of attractive acquisition opportunities.

               Additionally it appears that the new vehicle sales are slowing as part of the
               typical historical sales cycles in the dealership industry.

               The financial news indicates that a recession is potentially coming up soon.




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                Therefore the board of directors is declaring this as an additional reason to
                accumulate funds rather than adopt a policy of making dividends.

                These steps are necessary to avoid being accused of accumulations of
                earnings.

                Please let me see the draft of this document before it is circulated for signing
                by Al Draton and myself.

                Bob
                Dkt. 236-8 at p. 92.


          But when Brockman saw Dr. York again in December of 2019, this time to fulfill

Brockman’s criminal attorneys’ request for an explicitly forensic assessment of

Brockman’s competency to stand trial, Brockman and his wife told Dr. York that

Brockman could no longer tie a tie, use a remote control, or unlock his telephone. (Dkt.

236-10 at p. 22). According to Dr. York, Brockman performed written math computation

at a fifth- or sixth-grade level and thought that three times four was seven. (Dkt. 236-10 at

p. 25). Dr. York’s December 2019 report states that Brockman passed several validity tests,

but the report does not contain any discussion of those tests. (Dkt. 236-10 at pp. 21–28).

Dr. York reiterated her prior diagnosis of Dementia with Lewy Bodies and concluded that

Brockman was “unable to participate and aid in his own defense.” (Dkt. 236-10 at p. 28).

          —Evidence of past malingering: 2020

          The disconnect between Brockman’s performance on cognitive evaluations and

other evidence of his intellectual capabilities persisted in 2020. Even after Dr. York’s

December 2019 assessment deemed him incompetent to stand trial, Brockman continued

to serve as CEO of Reynolds for almost a year; and Tommy Barras (“Barras”), a longtime



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friend and employee of Brockman’s who worked closely with Brockman and succeeded

him as CEO, testified that Brockman showed no sign of cognitive impairment during that

time. Numerous emails authored by Brockman in 2020 demonstrate an exhaustive

understanding of both the various sectors of Reynolds and the complex dynamics of the

relationships among its executive team, and Brockman wrote several of those emails either

just before or after Brockman’s criminal counsel sent a letter to the Department of Justice

arguing that Brockman’s cognitive abilities had deteriorated to the point where a criminal

prosecution against him would contravene the principles of due process.

          Two helpful examples bookend the letter to the Justice Department. In March of

2020, Barras, who was Reynolds’s executive vice president of software development at the

time, emailed Brockman regarding an internecine feud between two other Reynolds

executives, Robert Schaefer and Rudy Nieto. Barras advised Brockman not to intervene,

writing, “Do not fan the flame—ignore it and hopefully they will get the point.” (Dkt. 236-

6 at p. 103). In response, Brockman outlined a thorough blueprint for mediating the dispute:

                Tommy,

                One of my concerns is that the key to keep the sales department from running
                over everyone else—is people like Schaefer and Agan before him.

                Management of sales decision making is one of the most complex things that
                I have to teach you about.

                It cannot be done quickly—as the education is focused on many, many
                situations—what is happening, what should the response be to the situation
                at hand?

                Right now Schaefer is the most knowledgeable about the above rules and
                policies.



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                Rudy is the most adept at trying to find a way around the rules—which is a
                source of friction between the two.

                Unless the situation is that Schaefer is clearly not following my rules and
                policies—the decision must go Schaefer’s way. Otherwise Schaefer will
                become “broken” and give up trying to keep a lid on sales people—which
                will cause Sales to run amok.

                If sales doesn’t like a decision—let them endeavor to make their case—in
                writing and only with you—Rudy should not be allowed to try to move
                Schaefer around on his own. Then it is an educational opportunity for you
                and me to discuss.

                Right now Schaefer undoubtedly feel [sic] like a lonely soldier. He was
                assigned his task. He is following my orders and what I taught him. He is
                dug into his position quite correctly. For sure he wonders what is going on
                and what is happening to him. When there are different orders and rules, he
                will follow orders—unless it involves giving salesmen a free pass to do
                whatever they want—which in his heart he would believe that to be insanity.

                Bob
                Dkt. 236-6 at p. 102.

          A month later, in April of 2020, Brockman’s criminal attorneys sent this letter to

the Department of Justice in which they contended “that a prosecution against Mr.

Brockman under these circumstances would be in contradiction of the principles set out in

the United States Justice Manual and the fundamental principles of due process” because

“the evidence of Mr. Brockman’s cognitive impairment is overwhelming and compelling.”

(Dkt. 236-10 at pp. 4, 16). The letter asserted that Brockman “has difficulty remembering

significant information[,] cannot put his thoughts into written form, and cannot even recall

how to spell common words.” (Dkt. 236-10 at p. 3). The letter further stated that Brockman

would “shortly step down as CEO and Chair” of Reynolds because he could “no longer

effectively serve as the chief executive officer of Reynolds[.]” (Dkt. 236-10 at p. 3).



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          But in May of 2020, a month after Brockman’s counsel sent that letter, a Reynolds

executive named Chris Walsh sent an email requesting Brockman’s advice on the

appropriate selling price for a newsletter that Reynolds had taken over as part of its

acquisition of a company named IMN:

                I was looking at margins for our newsletter and what sales thinks is the right
                selling point. Their suggestion is $399/month. When I look at our margins at
                that price it is around 10% GP. That doesn’t seem worth it to me but I was
                curious what your thoughts would be. At $499/mo our margins jump to 23%
                which seems more acceptable to me.

                Do you have any guidance you can give me on this topic?
                Dkt. 236-8 at pp. 85–86; Dkt. 249-2 at pp. 72–73.


          In his response, Brockman outlined a plan to phase the newsletter out because he

did not think that its profit margins, which he considered too low to justify continued

investment, would improve:

                Chris,

                My guess is that our information on costs is not complete—and therefore our
                margins are somewhat overstated even now.

                This makes the 10% GP—probably right at zero. Therefore we need not to
                be doing that business which is a zero profit product offering. The surprises
                that can happen are always negative.

                A 23% margin is also not acceptable.

                We need to exit this business gracefully—saying nothing—just reducing
                overheads. Sales talent should be directed to some other product area where
                we can make some money. Obviously this word will get out—which will be
                as long as we can keep it under wraps.

                This period of time will likely be the most profitable part of our experience
                with newsletters—as this product dies. This the result of taking away semi-



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                fixed costs away in a more rapid manner that sales revenue from customers
                decrease.

                Later when some significant project is needed (or the customer base gets too
                small), it will be the time to retreat further and ultimately completely shut it
                down.

                This is unfortunately a process that continually occurs. The only danger is
                failure to recognize the situation for what it is—and take appropriate action.
                Wasting resources on a situation that cannot be made profitable—is worse
                than a waste of time. It creates an atmosphere of protecting revenue that is
                worthless.

                Therefore we must continually innovate in order for the Company to prosper.

                You have done well to bring this situation forward—so that what must be
                done—gets done.

                Bob
                Dkt. 236-8 at p. 85.


          At the competency hearing, Moss, a former CFO of Reynolds who worked with

Brockman for 29 years, testified that Brockman’s analysis of the newsletter’s profitability

was “typical for our business. We had—we had, you know, margins in the hundreds of

percentiles. So, for a software company that’s—that’s what [Brockman] required.” (Dkt.

249-2 at pp. 60, 74). Moss further testified that Reynolds executives and personnel

“[a]bsolutely” saw the newsletter phase-out as Brockman’s call to make in May of 2020.

(Dkt. 249-2 at p. 74).

          Barras, the current CEO of Reynolds, worked with Brockman for even longer—45

years—than Moss did. (Dkt. 253 at pp. 34–35). Barras testified that he “had no doubts”

about Brockman’s cognitive abilities or Brockman’s ability to run Reynolds at any time

before Brockman stepped down as CEO on November 5, 2020. (Dkt. 253 at pp. 58–59,


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66). Barras further testified that Brockman gave good advice and was involved in every

important decision at Reynolds while he was serving as CEO in 2020. (Dkt. 253 at pp. 66,

73–74). And Barras said as much in an email that he sent to Dr. Jim Jackson (“Dr.

Jackson”), a member of Reynolds’s board of directors, in August of 2020:

                 I assure you Bob is involved in EVERY important decision being made. We
                 talk about ExCom10 opinions and whether to allow feedback or not. These
                 are frequent conversations.
                 Dkt. 236-14 at p. 60.


          In short, Brockman continued to run the billion-dollar Reynolds company—and, by

all available evidence, run it well—for nearly a year after Dr. York’s second examination

declared him incompetent to stand trial and for seven months after his criminal attorneys

told the Justice Department that he would be resigning because his cognitive abilities had

declined to the point where prosecuting him would violate fundamental principles of due

process. Moreover, it appears that Brockman only left Reynolds when he did because his

indictment had just been unsealed three weeks before, on October 15, 2020. See Northern

District of California case number 3:20-CR-371 at docket entry 16, page 3. At the

competency hearing, one of Brockman’s criminal attorneys admitted that Brockman’s

resignation “took longer than we all hoped” and that Brockman’s “continuation in the role”

of CEO for so long after the April 2020 letter to the Justice Department was “a puzzle in

view of . . . our observation that he wasn’t competent in other respects[.]” (Dkt. 249-7 at

pp. 60–61). While it may be true that patients who suffer from Alzheimer’s Disease may



10
     “ExCom” is shorthand for Reynolds’s “executive committee.” (Dkt. 253 at p. 73).


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have better long-term than short-term memory, the Court agrees with the Government’s

experts that this fact cannot adequately explain the chasm between Brockman’s clinical

assessment and contemporaneous conduct described in detail above.

          The Government has presented evidence showing that Brockman selectively

exaggerated his cognitive impairment in 2019 and 2020 when it appeared advantageous to

do so. The Court finds this evidence to be both relevant and compelling. In light of this

evidence of prior malingering, the Court concludes that the results of the validity tests

administered by Drs. Denney, Dietz and Guilmette indicate Brockman’s continued

malingering to this day.

          C. Evidence of Sophisticated Furtive Behavior

          The Government also presented evidence showing that in the years leading up to his

indictment Brockman has demonstrated the ability to successfully engage in sophisticated

furtive behavior to conceal his actions and enlist others in that conduct. The Court finds

that this evidence is persuasive and supports the validity test results indicating that

Brockman is misleading the Government and his treaters by exaggerating his disability to

avoid prosecution.

          Much of this evidence came from Evatt Tamine. Tamine is a lawyer who worked

closely with Brockman for 14 years and who, according to the Government, helped

Brockman conceal assets offshore. On September 5, 2018, Bermudan police and American

IRS agents executed search warrants in Bermuda at Tamine’s home office and a storage

locker. (Dkt. 253 at pp. 18–22). The law enforcement agents seized more than 90 terabytes

of data on about 20 devices, including laptops, desktops, external hard drives, network


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storage devices, and mobile phones. (Dkt. 253 at pp. 20–21). The agents also seized an

encrypted private email server, from which they obtained email communications between

Tamine and Brockman. (Dkt. 249-2 at pp. 99–100; Dkt. 253 at pp. 22–25). Tamine testified

that the materials seized pursuant to the warrants included “[e]very document that existed

anywhere in relation to any of the entities” that he helped administer and maintain for

Brockman, as well as 14 years of correspondence between him and Brockman. (Dkt. 249-

2 at pp. 98–100).

          Decrypted email conversations between Brockman and his business associates

obtained in the Tamine raid discuss the falsification, backdating, concealment, and

destruction of documents. For example, at one point Brockman wanted to investigate a

possible management buyout of Reynolds. (Dkt. 249-2 at pp. 115–16). Reynolds was

owned by a trust, and Tamine was the director of the trustee. (Dkt. 249-2 at pp. 95–97).

Brockman sent an encrypted email instructing Tamine to send Brockman an unencrypted

letter that was designed to make it appear as if the trustee had asked Brockman to

investigate the possible buyout. (Dkt. 236-1 at pp. 153–57; Dkt. 249-2 at pp. 115–17). In

effect, Brockman was obscuring his control of the trust with a fabricated letter from the

trustee that Brockman himself dictated. (Dkt. 236-1 at pp. 153–57; Dkt. 249-2 at pp. 115–

17).

          Additionally, Brockman sent an email to Tamine and Don Jones (“Jones”), another

person who managed and maintained offshore entities for Brockman, explaining how to

circumvent machine identification codes and backdate documents. Brockman wrote that

for “any document that is created for signature, we must be sure that we never use the


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original that comes out of a laser printer.” (Dkt. 236-1 at p. 169). Instead, such documents

“need[ed] to be run through a standard copy machine first—and the copy used as an

original as the copy machine does not have sufficient resolution to copy the encoded dots.”

(Dkt. 236-1 at p. 169). Brockman added:

                As a reminder—we need to also remember that all copy machine/laser printer
                paper has encoded into it the manufacturer of that paper as well as the year
                and month of manufacturer. [sic] For that reason I always set aside some
                packets of copy paper with dates on them—for potential future use.
                Dkt. 236-1 at p. 169.


          In another email chain, Brockman and Tamine discussed how Tamine would keep

government officials, particularly United States customs officials, from seizing laptops and

files relating to Tamine’s work for Brockman that Tamine was moving from France to

Bermuda. (Dkt. 236-1 at pp. 119–20; Dkt. 249-2 at pp. 102–04). Brockman expressed

concern that the laptops would “get tied up in Customs” or “seized” and made sure that

Tamine was not flying through the United States. (Dkt. 236-1 at p. 120). Tamine proposed

that he use remote access software to transfer files from the drives that were in France to a

drive in Bermuda and then wipe the drives that were in France before transporting them.

(Dkt. 236-1 at p. 119). Brockman agreed with the idea and also suggested that Tamine

“create two copies on a Mico SD chip that are the size of less than a postage stamp[,] carry

one concealed somewhere in luggage[,] and . . . FED-X the other with some misc

correspondence to [him]self in Bermuda.” (Dkt. 236-1 at p. 119).

          The emails seized in the Tamine raid further discuss the use of shell companies and

trusts to hide money from regulators. After Bermuda Commercial Bank froze Brockman’s



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accounts and Tamine began to face increased scrutiny, Tamine sent an email to Brockman

suggesting that they establish “shell companies” in an “escape jurisdiction[,]” as well as a

“hidden fund” consisting of money held in trust by an Australian lawyer, to help “cover

[their] tracks” so that they could avoid “disclosing where other accounts are held” and

“alerting a regulator as to where they should seek to freeze money.” (Dkt. 236-1 at pp.

148–49). Tamine further stated that, given the “fear of detention[,]” he could “never again”

travel to the United States “with a computer or telephone” but that he “could keep all [he]

need[ed] at [Dr.] Yudofsky’s office including a phone.” (Dkt. 236-1 at pp. 150–51).

Brockman concurred with Tamine’s suggestions. (Dkt. 236-1 at p. 145). The Court

concludes that all of this evidence of past sophisticated furtive behavior is relevant and

supports a finding that Brockman is malingering and is competent to stand trial.

          D. Other medical evidence

          Finally, the Court finds that despite Brockman’s recent health problems, the

Government has met its burden of establishing that Brockman is competent to stand trial.

In 2021, Brockman was hospitalized three times with urinary tract infections, once in

March, once in late May and early June, and once in September. (Dkt. 250 at p. 47).

Brockman suffered from delirium during all three hospitalizations and suffered from sepsis

during the first two. (Dkt. 250 at p. 47). On June 24, 2021, Brockman underwent a UroLift

procedure designed to stop the recurring urinary tract infections. (Dkt. 235-18 at pp. 23–

25). Since the competency hearing, Brockman’s counsel has represented to the Court that

Brockman was hospitalized in January of 2022 with acute prostatis and toxic metabolic

encephalopathy after contracting COVID-19. (Dkt. 259).


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          Brockman’s prior history of malingering and validity testing following his earlier

hospitalizations leads the Court to conclude that Brockman has continued to malinger until

today. Notably, Dr. Denney administered two tests, the Competency Assessment

Inventory-Revised and the Evaluation of Competency to Stand Trial-Revised, that were

specifically designed to assess Brockman’s ability to understand the legal proceedings and

assist his counsel. (Dkt. 249-1 at pp. 7–11). Although the Competency Assessment

Inventory is “more of a guide to make sure you are asking the right questions[,]” the

Evaluation of Competency to Stand Trial-Revised is scored, and Brockman passed it in

October of 2021, after his 2021 hospitalizations. (Dkt. 249-1 at pp. 7–11).

          The Government also provided other credible expert testimony opining, based on

the most recent neuroimaging available, that Brockman continues to remain competent to

stand trial through today. Dr. Darby, the Government’s neurologist, testified that he was

concerned that continued hospitalizations, such as those in 2021, could accelerate

Brockman’s neurodegeneration, particularly after he viewed a forensic evaluation of

Brockman that Dr. Agronin and Dr. Guilmette conducted in July of 2021 in which

Brockman appeared confused and impaired. (Dkt. 250 at pp. 10–11). However, Dr. Darby

testified that FDG-PET scans conducted in March of 2021 and August of 2021 revealed

only mild changes during that period and did not support a conclusion that Brockman’s

hospitalizations accelerated his neurodegeneration, leading Dr. Darby to suspect transient

residual delirium as the cause of Brockman’s impaired appearance in the July 2021

examination. (Dkt. 250 at pp. 20–22).




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          An EEG conducted in September of 2021 showed that Brockman was no longer

delirious; and Brockman’s cognitive performance, though still weaker than before the July

2021 examination, had improved when he was evaluated again by both Government and

defense experts in October of 2021. (Dkt. 250 at pp. 24–30). In his report, Dr. Darby further

noted that Brockman’s MRI scans did not show significant brain atrophy and that, although

Brockman had a positive amyloid PET scan result that could indicate Alzheimer’s disease,

cognitively normal subjects can also produce positive amyloid PET scans. (Dkt. 236-6 at

pp. 25–27). Ultimately, Dr. Darby testified at the competency hearing that, “based on

[Brockman’s] most recent neuroimaging,” he would expect Brockman to exhibit

impairment “at the mild range of severity, so in the mild cognitive impairment range.”

(Dkt. 250 at p. 32).

          The Court finds Dr. Darby’s testimony regarding Brockman’s “cognitive reserve”

clear, credible and reliable in explaining why future hospitalizations may not result in

Brockman no longer being competent to stand trial. Dr. Darby noted that Brockman, as a

person of “superior intelligence[,]” had a high “cognitive reserve[.]” (Dkt. 249 at pp. 100–

01). Differences in cognitive reserve, Dr. Darby explained, mean that “the same amount of

damage in two different patients could lead to very different levels of cognitive

impairment, because they’re starting from different points. And so, in a patient who has a

high level of intelligence, they’re able to compensate for the same amount of brain damage,

more than a person that would not have that level of intelligence.” (Dkt. 249 at p. 100).

          Dr. Dietz, the Government’s psychiatrist, synthesized Dr. Darby’s interpretations of

Brockman’s neuroimaging studies and Dr. Denney’s neuropsychological findings and


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added his own impressions of Brockman after two forensic interviews, one in May of 2021

and one in October of 2021. Dr. Dietz concluded that Brockman “most likely suffers from

mild cognitive impairment or mild dementia” but “continues to malinger neurocognitive

dysfunction.” (Dkt. 236-13 at p. 10). In concluding that Brockman meets the Dusky

standard—meaning that Brockman has the present ability to consult with his lawyer with

a reasonable degree of rational understanding and has a rational as well as factual

understanding of the proceeding against him—Dr. Dietz further highlighted “Brockman’s

motivation to avoid prosecution, the marked discrepancy between [Brockman’s] early

cognitive test results and his contemporaneous testimony and speeches, [and] the serious

allegations of a remarkable pattern of deceptive conduct spelled out in the indictment.”

(Dkt. 236-13 at p. 10).

          IV.   CONCLUSION

          The Court finds that the Government has met its burden of establishing that

Defendant Robert T. Brockman is competent to stand trial. In so finding, the Court is very

mindful that Brockman is an elderly person who has Parkinson’s Disease, which is a

neurodegenerative disorder, and has suffered from some degree of cognitive impairment.

However, the evidence before the Court shows that Brockman is also an extremely

intelligent person with both a high cognitive reserve and history of malingering for

secondary gain. The Government has introduced compelling evidence showing that

Brockman exaggerated his cognitive symptoms when he was being examined by medical

professionals in the past; and Brockman’s performance on validity tests—some of them

administered by his own neuropsychological expert—indicates that he continues to


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exaggerate impairment. Accordingly, the Court finds Defendant Robert T. Brockman

competent to stand trial.

                                         May 23
          SIGNED at Houston, Texas on ______________ 2022.



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                                             GEORGE
                                             GEORGGE C.
                                                      C HANKS,
                                                        HANKS JR.
                                                                JR
                                       UNITED STATES DISTRICT JUDGE




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